    Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 1 of 9 PageID #:392




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                                  No. 17 CR 236
             v.
                                                  Judge Andrea R. Wood
JOSEPH D. JONES and
EDWARD SCHIMENTI

                       PROTECTIVE ORDER
           GENERAL AND SENSITIVE DISCOVERY MATERIALS

      WHEREAS, the parties agree that they have a compelling interest in

preventing certain sensitive discovery materials, to include declassified

material1 (collectively “Sensitive Discovery Materials”), from being disclosed

to anyone not a party to the court proceedings in this matter; such material

may include information relevant to ongoing national security investigations

and prosecutions; and such materials may implicate the privacy interests of

the defendant and third parties;

      AND WHEREAS, the government seeks to tender to the defendants

certain Sensitive Discovery Materials;

      AND WHEREAS, the parties further agree that the Court has the

power under Fed. R. Crim. P. 16(d)(1) and 26.2 to grant appropriate relief to

the parties where required in the interests of justice;


      1        As used herein, the term ADeclassified Materials@ refers to any and all
classified documents, materials, and information that have been marked as declassified and
provided by the government to defense counsel as part of discovery in this case.
    Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 2 of 9 PageID #:393




         THEREFORE, IT IS HEREBY ORDERED pursuant to Rule 16(d) of the

Federal Rules of Criminal Procedure that the government shall segregate the

discovery materials it produces to the defendants and their counsel of record

into two categories: (1) General Discovery Materials, and (2) Sensitive

Discovery Materials. The category to which particular discovery materials

belong shall be clearly identified by the government;

         IT IS FURTHER ORDERED that, except as provided below, General

Discovery Materials shall not be further disseminated2 by the defendants or

their counsel of record to any individuals, organizations or other entities,

other than: (i) members of the defense team (co-counsel, paralegals,

investigators, translators, litigation support personnel, the defendant, and

secretarial staff) and (ii) experts retained to assist in the preparation of the

defense. Members of the defense team may show (but not provide copies of)

any General Discovery Materials to witnesses or potential witnesses during

the course of their investigation of this case. Each of the individuals to whom

disclosure is made pursuant to the above provisions shall be provided a copy of

this protective order and will be advised that he or she shall not further




               ADisseminated@ means to provide, show or describe to another either a
     2


particular piece of discovery or quotations, excerpts, or summaries derived therefrom.


                                          2
    Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 3 of 9 PageID #:394




disseminate the materials except by the express direction of counsel of record

or co-counsel;

      IT IS FURTHER ORDERED that Sensitive Discovery Materials shall

not be further disseminated by the defendants or their counsel of record to any

individuals, organizations or other entities, other than (i) members of the

defense team (co-counsel, paralegals, investigators, translators, litigation

support personnel, the defendant, and secretarial staff); and (ii) experts

retained to assist in the preparation of the defense. Notice of proposed

dissemination to defense experts shall be provided to the Court ex parte and

under seal. Each of the individuals to whom disclosure is made pursuant to

the above provision shall be provided a copy of this protective order and will

be advised that he or she shall not further disseminate the materials except

by the express direction of counsel of record or co-counsel. The government

shall provide copies of any Sensitive Discovery Material appropriately so

marked. It is expressly understood that counsel for the defendants may not

disseminate any of such Sensitive Discovery Materials to witnesses or

potential witnesses. The defendants may seek relief from these provisions as

to a particular item or items of discovery by providing notice to the Court of

intent to disseminate particular identified item(s) to a witness and the

purpose in doing so. The Notice shall be under seal. No disclosure of the


                                        3
   Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 4 of 9 PageID #:395




item(s) to the witness(es) shall be made until the Court so permits. The Court,

after notifying the defense, may consult with the Government regarding any

dissemination requests pursuant to this paragraph;

      IT IS FURTHER ORDERED that no General Discovery Material or

Sensitive Discovery Material shall be disseminated to any member of the

defense team, as defined above, expert witness retained by the defense team,

or any duly authorized witness unless that person shall first have signed the

Memorandum of Understanding in the form attached hereto, agreeing to

comply with the terms of this Order. The signed Memorandum of

Understanding shall be filed with the Court under seal. The substitution,

departure, or removal for any reason from this case of counsel for the

defendants, or anyone associated with either defense team shall not release

that person from the provisions of this Order or the Memorandum of

Understanding executed in connection with this Order;

      IT IS FURTHER ORDERED that all discovery materials, whether

general or sensitive, in this case are now and will forever remain the property

of the United States Government. At the conclusion of this case, all discovery

materials shall be destroyed or maintained under secure conditions by defense

counsel. Upon written request of the Government, all discovery materials

shall be returned to the Government;


                                       4
   Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 5 of 9 PageID #:396




      IT IS FURTHER ORDERED that defense counsel in receipt of Sensitive

Discovery Materials may only make copies of the Sensitive Discovery

Materials in accordance with this order. Defense counsel shall not remove

from any copies of either General Discovery Materials or Sensitive Discovery

Materials any inscription made by the Government identifying the materials

as: AU.S. Government Property@ and AMay Not Be Used Without U.S.

Government Permission@;

      IT IS FURTHER ORDERED that all discovery materials are to be

provided to the defense, and used by the defense, solely for the purpose of

allowing the defendant to prepare his defense;

      IT IS FURTHER ORDERED that no party shall make, or participate in

the making of, any extrajudicial disclosure of Sensitive Discovery Materials

for dissemination by means of public communication, unless such materials

are (or become) public record, including but not limited to, trial transcripts,

documents that have been received in evidence at other trials, or documents

that are otherwise properly placed in the public domain;

      IT IS FURTHER ORDERED that any papers to be served upon the

Court in response to papers served in conformity with the preceding

paragraph also be filed under seal;




                                       5
   Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 6 of 9 PageID #:397




      IT IS FURTHER ORDERED that counsel shall store all Sensitive

Discovery Materials, and any copies thereof, in a secure place;

      IT IS FURTHER ORDERED that nothing in this Order shall preclude

the government or the defendants from seeking a further protective order

pursuant to Rule 16(d) as to particular items of discovery material; and

      FINALLY, IT IS ORDERED that this Order is entered without

prejudice to either party=s right to seek a revision of the Order by appropriate

motion to the Court.



                                     ENTER:




                                     ANDREA R. WOOD
                                     District Judge
                                     United States District Court
                                     Northern District of Illinois

Date: May 24, 2017




                                       6
   Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 7 of 9 PageID #:398




                  IN THE UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA
                                              No. 17 CR 236
            v.
                                              Judge Andrea R. Wood
JOSEPH D. JONES and
EDWARD SCHIMENTI


                  MEMORANDUM OF UNDERSTANDING


      I, __________________________________ , acknowledge that I have

received, read, and understand the Protective Order Pursuant to Section 3 of

CIPA entered by the Court on __________________________, 2017, in this case,

and I agree to comply with its provisions. I understand that I may be the

recipient of certain classified information or documents, and direct or indirect

unauthorized disclosure, retention, or negligent handling of classified

documents or information could cause serious damage to the national security

of the United States, or could be used to the advantage of a foreign nation

against the interests of the United States.

      I agree that I shall never divulge, publish, or reveal either by word,

conduct, or any other means, such classified documents or information unless

specifically authorized in writing to do so by an authorized representative of

the United States Government; or as authorized by the Court pursuant to the
    Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 8 of 9 PageID #:399




Classified Information Procedures Act and the Protective Order(s) entered in

this case.

      I further acknowledge that I have received, read, and understand the

Protective Order governing general discovery and sensitive discovery entered

in this case, entered by the Court on             , 2017, in this case, and I agree

to comply with its terms and conditions. I understand that I may be the

recipient of certain discovery material, including documents marked as

General Discovery Materials and Sensitive Discovery Materials (collectively

Athe Discovery Materials@), that may include information relevant to ongoing

national security investigations and prosecutions, and may implicate the

privacy interests of the defendant and third parties. I understand that direct

or indirect unauthorized disclosure, retention, or negligent handling of the

Discovery Materials I receive or review could cause serious damage to the

other national security investigations and prosecutions, and/or impact the

privacy interests of the defendant or third parties.

      I agree that I shall never divulge, publish, or reveal either by word,

conduct, or any other means, such Discovery Materials unless specifically

authorized in writing to do so by an authorized representative of the United

States Government; or as authorized by the Court pursuant the Protective

Order entered in this case.




                                        2
   Case: 1:17-cr-00236 Document #: 45 Filed: 05/24/17 Page 9 of 9 PageID #:400




     I agree that this Memorandum and any other nondisclosure agreement

signed by me in connection with this case will remain forever binding upon

me, even after the conclusion of this case and any subsequent related

proceedings including the appellate process.



SIGNED:_____________________________________________
DATE:_________________


WITNESS: ______________________________________________
(signature)

WITNESS: __________________________________________
(print name)

DATE:_________________




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